Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 1 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

x
FARA D’ANGELO, :
Case No. 3:08-CV-1548(JCH)
Plaintiff,
V.
WORLD WRESTLING ENTERTAINMENT,
INC., : OCTOBER 26, 2009
Defendant. :
x

 

MOTION TO DISMISS COMPLAINT OR IN THE ALTERNATIVE TO COMPEL AND
FOR SANCTIONS

The Defendant, World Wrestling Entertainment, Inc. (“WWE”), hereby respectfully
moves this Court for an order, pursuant to Fed. R. Civ. P. 37(b)(2)(A)(v), dismissing the
Complaint in its entirety due to Plaintiff's obstructive and dilatory actions, in contravention to
the parties’ discovery plan pursuant to Fed. R. Civ. P. 26(f). In the alternative, in the event this
Court deems dismissal not warranted, the Defendant respectfully requests that this Court enter
orders pursuant to Fed. R. Civ. P. 37(a)(3)(B), and (5), and (d) as set forth below.

NATURE OF THE ACTION

This action was filed by former WWE employee, Fara D’Angelo, on October 9, 2008.
The original Complaint contained two counts; the first for hostile environment sexual harassment
in violation of Title VII, and the second for the same claim but arising under Connecticut state
law. After a discussion between the parties whereby it was pointed out to Plaintiffs counsel that
the state law claim was time barred, the Complaint was voluntarily amended to delete the second

count. Thus, the operative Complaint contains only one Title VII based count.
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 2 of 13

Ms. D’Angelo alleges she was sexually harassed by her former supervisor during her
WWE employment. She resigned that employment, and despite that WWE terminated the
alleged harasser’s employment before she left, and offered her another position at a higher status
and salary, Plaintiff nevertheless left her employment to take another job offer. At her
subsequent position, she is earning a higher salary.

The parties dispute whether Ms. D’Angelo properly lodged a complaint of sexual
harassment prior to giving her notice of resignation to WWE, but even Ms. D’Angelo
acknowledges she never brought such a complaint directly to WWE’s Human Resource
department. Rather, she claims she brought the harassment to the attention of certain members
of WWE management, and/or they directly witnessed behavior which should have been reported.
WWE contends that the first notice it had of this complaint was when Ms. D’Angelo provided
notice of resignation, and that they promptly investigated and took remedial action before her
last day of work. WWE further asked that Plaintiff remain in its employ, even offering her a
promotion and increased salary.

BACKGROUND PERTINENT TO THIS MOTION

On February 24, 2009, this Court, on its own initiative, issued an Order to Show Cause
why Plaintiff's counsel’s appearance should not be stricken as he is not a member of the Bar of
this Court, had no local counsel at the time, and had not moved to be admitted pro hac vice. This
began the pattern of Plaintiff's counsel’s repeated failures to abide by the Rules of this Court,
and the general Rules applicable to proper discovery.

Specifically, during April 2009, counsel for the parties commenced their Fed. R. Civ. P.
26(f) “conference” via email and telephone. On April 3, 2009, the undersigned wrote Plaintiff's

counsel asking him when he would be available for the Rule 26(f) conference. Given that
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 3 of 13

Plaintiffs counsel did not reply to the April 3 email for over two weeks, on April 21, 2009, the
undersigned sent a second email to Plaintiff's counsel reminding him of this Court’s order
regarding the Rule 26(f) discovery plan. After several discussions regarding the discovery
deadline in particular, the joint Report of Parties’ Planning Meeting was ultimately submitted on
April 29, 2009. Noteworthy at this juncture, in that report, Plaintiffs counsel did not request any
specific search terms be applied to electronic discovery searches. The Defendant, as permitted
by the Rules, had already served the Plaintiff with its Requests for Production dated April 24,
2009, after the parties had commenced their “26(f) conference.” Simultaneously, Defendant
noticed Plaintiff's deposition for May 29, 2009. (Ex. 1.)

The Court modified the proposed Rule 26(f) discovery plan, including shortening the
deadline for fact discovery, so that said deadline was set for November 1, 2009. This
modification was pointed out by WWE’s counsel to Plaintiff’s counsel on May 20, 2009 in an
email wherein Defendant was attempting to ascertain the anticipated date of receipt of Plaintiff's
discovery responses. (Ex. 2.) In this communication, the undersigned further requested from
Plaintiffs counsel information regarding Plaintiffs and his availability for Plaintiff's deposition,
making clear that Defendant was amenable to rescheduling the noticed deposition for a mutually
convenient date.

In the absence of a response for a full week, on May 27, 2009, Defendant’s counsel wrote
Plaintiff's counsel again, reminding him that Plaintiff's production was due. (Ex. 3.) On or
about that same day, May 27, 2009, Defendant was served with Plaintiff's discovery requests.

After receiving no response for another two weeks, on June 11, 2009, the undersigned
wrote Plaintiff's counsel again asking about the status of production, then overdue, and about

Plaintiff's availability for deposition. (Ex. 4.) It bears repeating that Plaintiff had neither
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 4 of 13

apprised Defendant of the need for additional time, nor this Court. Yet, it was only upon the
undersigned’s June 11 communication that Plaintiff's counsel responded on June 12, 2009.
During that conversation, Plaintiff's counsel indicated that production was not ready; demanded
that Defendant agree to a type of simultaneous exchange of documents, and refused to produce
Plaintiff for any deposition until such time as all document discovery had been completed,
including resolution of all disputes regarding such discovery. Defendant agreed to, yet again,
extend the production deadline to June 24, 2009, but vehemently disagreed with the remaining
demands.

On June 12, 2009, the undersigned confirmed this conversation in an email. (Ex. 5.)
This email provided in pertinent part that: (a) Defendant agreed to extend the deadline for
Plaintiff's responses to June 24 (meaning Plaintiff would have had, by then, two months for
compliance); (b) stating that Plaintiff was required to file a motion for an extension of this time
limitation with the Court (which has never occurred); (c) confirming that Defendant anticipated
meeting its compliance deadline by or about June 29, or within that week; (d) confirming
Defendant’s objection to the demand for simultaneous, New York state court style production;
(e) agreeing in principle to delay Plaintiffs deposition until after Defendant’s initial production,
but rejecting any notion that paper discovery had to be entirely complete before Plaintiff could
be deposed; and (f) inquiring about Plaintiff's availability in July for that deposition.

Hearing no response for another eleven days, on June 23, the undersigned inquired again
about Plaintiffs availability in July for deposition, and requested assurance that Plaintiff's
production would be served the following day as promised. (Ex. 6.) On that afternoon,
Plaintiff's counsel confirmed compliance would be sent via overnight mail on June 23 to

Defendant’s counsel, but again refused to provide deposition dates. (Ex. 7.) In response, the
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 5 of 13

undersigned wrote that Defendant’s anticipated production would not be so voluminous that
Plaintiff would not be prepared for deposition during the entire month of July. (Id.) The
undersigned also provided Plaintiff with four dates for a potential deposition. (Id.)

On June 30, 2009, the undersigned advised Plaintiff's counsel that Defendant’s
production had been sent via overnight delivery, and repeated that Defendant was still awaiting
deposition dates. (Ex. 8.) After the initial production, on July 1, 2009, Defendant sent its First
Supplemental Production of documents (relating to employee benefit plans at WWE) as
promised in its initial production just a day or two prior.

On July 7, 2009, the undersigned asked Plaintiff's counsel via email why her repeated
inquiries were being ignored, and stated that Defendant would be compelled to simply re-notice
Plaintiff’s deposition in the absence of any effort to schedule the same on a mutually convenient
date. On that day, Plaintiff's counsel finally responded, but only to state that Defendant’s
documents had just been received the week prior (but notably timely given the delay in serving
Defendant in the first place); and that he needed time to confirm compliance before agreeing to
any deposition. (Ex. 9, at p. 2.) Plaintiffs counsel’s response triggered a series of email
exchanges on that date, wherein: the undersigned reiterated her objection to the continued
obstruction of Plaintiffs deposition, and stated that paper discovery did not have to be 100%
complete, and Plaintiff 100% satisfied, before Plaintiff should have to appear to at least
commence a deposition. Thus, at this juncture, the Complaint had been pending for almost nine
months, and still Defendant was being prevented from asking Plaintiff even one question about
her Complaint.

After additional email exchanges on July 7, 2009, Plaintiff's counsel finally wrote that

he would follow up with potential deposition dates after his review of the documents produced.
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 6 of 13

(Ex. 9, at p. 2.) He then gratuitously added that Defendant’s production “appear[ed] deficient”
despite his simultaneous representation that he had not yet had an opportunity to review the
documents. In several reply emails, the undersigned reminded Plaintiffs counsel of the
discovery deadlines, and warned him that she was considering filing a Rule 37 motion. (Ex. 9, at
p.1.) Shortly thereafter, the undersigned pointed out to Plaintiff's counsel how Plaintiff's
production was deficient; specifically, contrary to the Federal Rules, Plaintiff did not specify
which documents were responsive to several Interrogatories; refused to produce CHRO
documents, claiming Defendant “already had them”; and did not provide any medical records,
instead offering to execute authorizations for Defendant to request them—but Plaintiff did not
enclose an executed authorization. (Ex. 10, at p. 2-3.)

Worth noting, when challenged about the statement that Defendant’s production was
deficient, given Plaintiff's counsel’s representation that he did not have time to review them,
Plaintiff's counsel merely referred to the number of pages Defendant produced compared to
those produced by Plaintiff. Defendant pointed out that Plaintiff's production was substantial
because it included hundreds of pages pertaining to her mitigation efforts and compensation and
benefits at her new employment, such as employee handbooks or policies. Further, the
undersigned emphasized that the mere number of pages produced does not signify legally
cognizable deficiencies. Finally, the undersigned pointed out that many of Plaintiff's requests
were patently overbroad and improper, and that Defendant had produced what was pertinent,
leaving room for discussion as to potential compromise. Plaintiff's counsel was reminded of the

discovery deadline.
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 7 of 13

Early in the evening that same day, Plaintiff’s counsel reiterated his refusal to produce
Plaintiff for deposition, stating that Defendant had produced “very little” by way of electronic
documents, and essentially demanding to know how quickly Defendant would “remedy the
deficiencies.” (Ex. 10, at p. 2.) He offered to produce his client for a limited deposition; i.e., she
would refuse to answer any questions regarding documents that had not been produced. (Id.)
Defendant’s counsel then properly pointed out that the parties should discuss the Defendant’s
objections and attempt to reach a compromise, especially given the patently overbroad nature of
Plaintiff's electronic discovery requests.! Defendant emphasized that it was not obligated to
satisfy Plaintiff's subjective opinion about purported “deficiencies” before being able to depose
the Plaintiff, especially in view of the passage of time since production during which Plaintiff
had ample opportunity to address Defendant’s objections. (Id., at p.1.) Defendant’s counsel
asked Plaintiff's counsel about his suggested compromises to such demands, reminding him, yet
again, of her repeated attempts to notice Plaintiff's deposition, the time period which had elapsed
during which he could easily have scheduled a “meet and confer”, and offering to schedule such
a discussion. (Id., at p. 2.)

On July 9, instead of substantively responding, Plaintiffs counsel merely stated that
Defendant’s production was “late” (which it was not); it was not a “good faith response”; and
that if Defendant insisted on a deposition, he would restrict what could be asked. For obvious

reasons, this “offer” was refused. Notably, no attempt to schedule a conference to discuss the

 

"A plain reading of some of these requests reveals their patently improper nature. Two examples illustrate this
point. First, Plaintiff's Request Number Four requests “All communications relating to Plaintiff or her employment
during the time of her employment and for six (6) months following her separation, including but not limited
to: a. all emails between Plaintiff and Alex Romer; b. all instant messenger logs for conversations between Plaintiff
and Alex Romer; c. emails between any of the employees at WWE that contain any references to Plaintiff or
Alex Romer.” Second, Plaintiff's Request Number Twelve requests “Mirrored images, as of this date, of all hard
drives from the computers of all persons involved in the investigation of Plaintiffs complaints and mirrored
images to any servers (including email servers) to which these persons may have had access.” (Emphasis added.)
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 8 of 13

purported deficiencies was offered or suggested. In reply, once again, the undersigned warned
Plaintiff's counsel that she would seek this Court’s intervention.

Not until July 13, 2009, after several reminders, did Defendant receive an executed
medical authorization from Plaintiff. On that same date, Defendant re-noticed Plaintiff's
deposition for August 6, 2009. (Ex. 11.) No response objecting to this date was received. Nor
has Plaintiff ever sought a protective order from this Court, choosing rather to simply ignore
repeated deposition notices.

On August 3, the undersigned fractured her ankle and requested alternative August dates
for this deposition. On that same day, Plaintiff’s counsel responded that he would provide new
deposition dates “this week.” None came.

Hearing nothing during the following seven days, on August 10, 2009, the undersigned
repeated the request for possible deposition dates. On that same day, Plaintiff sent a letter setting
forth the alleged production deficiencies of Defendant’s production. Yet again, not one offer of
compromise or request to discuss Defendant’s objections were included in the letter.
Furthermore, the letter was inaccurate; for example, the personnel file (absent medical and legal
information) of Plaintiff's former supervisor had been produced, yet the letter alleged it had not
been in any manner. On August 12, still hearing nothing regarding deposition dates, Defendant
re-noticed Plaintiff's deposition for September 14, 2009. (Ex. 12.)

On August 18, 2009, the undersigned responded to Plaintiff's letter of August 10.
Among other things, Defendant asked Plaintiff to elaborate and provide judicial precedent
supporting her claim that Defendant was compelled to produce its hard drives to her counsel.
Further, Defendant restated its willingness to discuss a compromise as to its other objections, and

confirming Defendant’s intention to proceed with the September 14 deposition of Plaintiff.
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 9 of 13

Hearing nothing for nearly two more weeks, on September 1, 2009, Plaintiff's counsel
emailed the undersigned suggesting a “last shot” to resolve discovery disputes via a
teleconference on September 3, 2009. This invitation was accepted.

On September 3, counsel discussed Defendant’s objections via telephone, and reached
agreement on every item to which Defendant had objected. On September 4, a written
confirmation of the agreement was sent to Plaintiff's counsel via email. (Ex. 13.) Among other
things, Plaintiff's counsel agreed to provide Defendant with a tailored list of email
recipients/authors for Defendant to conduct searches and produce such emails. This list was
promised within the week. Not receiving the promised modification of the request, on
September 10, Plaintiff’s counsel was sent a reminder email. Despite these communications,
this promised modification has never been received, including up to the date of this Motion.

On September 13, 2009, the undersigned asked if Plaintiff was available for deposition
on September 21. Plaintiff's counsel was not available on that date, but he did not offer
alternative dates. On that same day, Defendant requested alternative dates through September.
No response was received. On September 15, in accordance with one of the compromises
reached, Defendant served Plaintiff with its Second Supplemental Production, containing certain
phone records the Plaintiff had requested and which had been previously been produced via
email on September 10.

On September 17, 2009, Defendant renoticed Plaintiff's deposition for October 9 via
regular mail, facsimile and email. (Ex. 14.) No objection nor Motion for Protective Order was
received. On September 29, 2009, further pursuant to some compromises reached, Defendant

served its Third Supplemental Production containing additional phone records the Plaintiff had
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 10 of 13

requested. Further, on that same date, Defendant repeated its request for the tailored search
terms and email review as promised several weeks prior. (Ex. 15.) Still no reply.

On October 6, 2009, hearing no response, Defendant served via overnight delivery
Plaintiff with its Fourth Supplemental Production containing numerous emails between Plaintiff
and her former supervisor. A good number of these emails were duplicative of emails already
produced. In the cover letter enclosing the emails, Defendant once again requested that
Plaintiff's counsel provide specific search terms to narrow down the review and production of
remaining existing emails between Plaintiff and her former supervisor, and that he provide the
list of WWE individuals for whom Plaintiff was requesting emails referring to her or her
supervisor. Still no reply.

On October 7, 2009, the undersigned confirmed the October 9 deposition of Plaintiff, to
which her counsel’ replied that she would not appear as he had just received additional
production. On that date, the undersigned reminded Plaintiff's counsel of the dilatory actions
taken to date, and that the Defendant would seek Court intervention if Plaintiff did not appear on
October 9 to at least commence a deposition. Plaintiffs counsel replied the same date stating
that he would be “happy” to go to Court, but if Defendant would give him more time to review
documents and try another date, he would produce his client. (Ex. 16.) Plaintiffs counsel then
specifically stated that if Defendant would schedule the deposition for the week of October 19,
they would appear. (Ex. 17.) On October 9, the undersigned offered October 19—no response.
Accordingly, Defendant noticed the deposition for October 19, and sent said notice via fax,
email, and regular mail (which she notably had been doing for most, if not all, of the notices).

(Ex. 18.)

 

* Indeed, Plaintiff's counsel never responded to communications until depositions were being confirmed a day or
two before the date scheduled, and each time Plaintiff's counsel responded that Plaintiff would not appear.

10
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 11 of 13

On October 13, the undersigned wrote Plaintiff's counsel to confirm the October 19 date,
to which he responded: “seeking confirmation from my client now.” (Ex. 19.) He was reminded
that he had been served with the notice the prior week. (Id.) On October 14, Plaintiff's counsel
claimed he had “just received” the notice in the mail on October 13, which was untrue because
the deposition notice had also been faxed and emailed the same day it was mailed on October 9,
and that his client would give him ‘“‘a bunch of days next week and the following week...so we
can choose the best for all.” (Ex. 20, at p. 2.)

In response, the undersigned reminded Plaintiffs counsel that he had received the notice
the prior week, but that Defendant would agree to one last attempt to take Plaintiff's deposition.
Plaintiff indicated his client was available on October 23 and October 30. However, neither
Defendant’s counsel nor Defendant’s representative were available on October 23, and October
30 was only two days before the discovery deadline-clearly untimely. The final date offered by
Plaintiff was October 29—again, only two days before the discovery deadline. In fact,
Defendant was already prejudiced by the fact that Plaintiff's first and only offer of deposition
dates was during the final week of discovery, and never before this week.

No Defendant should have to litigate in this manner. This is the type of conduct that
should be sanctioned by this Court, and is sufficiently egregious to warrant outright dismissal of
Plaintiff's Complaint. In the alternative, in the event this Court deems dismissal not to be
warranted, Defendant respectively contends that this Court should grant it:

(a) an order compelling Plaintiff to appear for a deposition without further

production by Defendant within the next 30 days;

(b) prohibiting her from taking further discovery;

11
Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 12 of 13

(c) reimbursing Defendant for its fees incurred in having to pursue her deposition

for approximately six months, as well as for the filing and prosecution of this

Motion; and

(d) for such other and further relief as this Court deems equitable, just and proper.

Certification of Mary A. Gambardella, Esquire regarding the exhaustion of good faith efforts to

resolve this dispute, are submitted with this Motion.

DEFENDANT,

WORLD WRESTLING ENTERTAINMENT, INC.

By:

12

/s/ Mary Gambardella
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Case 3:08-cv-01548-JCH Document 23 Filed 10/26/09 Page 13 of 13

CERTIFICATE OF SERVICE
This will certify that, on October 26, 2009, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by email to all parties listed below by operation
of the Court’s electronic filing system. Parties may access this filing through the Court’s
CM/ECF System.

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13
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